Case 2:06-cr-20185-VAR-VMM ECF No. 498, PageID.4080 Filed 09/15/10 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff(s),                 CASE NUMBER: 06-20185
                                                   HONORABLE VICTORIA A. ROBERTS
v.

MARCUS LAMONT FREEMAN,

                     Defendant(s).
                                                        /

                                          ORDER

       This matter is before the court on Marcus Lamont Freeman’s “Motion in Limine to

Exclude All Transcripts of Calls to be Introduced by the Government.” (Doc. # 462). On

January 12, 2010 the Court ordered the parties to exchange all transcripts they intend to

use at trial, on or before June 1, 2010, and to resolve any objections to the transcripts

by July 15, 2010. (Doc. # 417). The parties were also ordered to bring any unresolved

objections to the transcripts immediately to the Court’s attention. (Id.).

       Although the government submitted its transcript on June 1, it later determined

that corrections needed to be made and on July 13 it notified defense counsel that it

was working to make the necessary revisions. (Doc. # 469, Exh. A). On July 23, 2010

the government submitted its revised transcript. Freeman seeks exclusion of the

revised transcript in its entirety, claiming that by failing to apprise him of the changes it

made to its original transcript, the government violated the Court’s January 12 Order by

making it “virtually impossible for the defendants to make an independent assessment

of the changes the government has made to the transcripts.” (Doc. # 462). The


                                               1
Case 2:06-cr-20185-VAR-VMM ECF No. 498, PageID.4081 Filed 09/15/10 Page 2 of 3




government responds that its revisions were necessitated by errors in the original

transcript identified by some defense counsel, that there were no substantive changes

made to the transcript, and that if Freeman identifies a portion of the transcript that is

inaccurate, it will cooperate in making the necessary revisions. (Doc. # 469).

       Freeman failed to identify any error in the revised transcript; nor did he explain

how the lack of a record of the government’s changes has made it impossible for him to

independently assess its accuracy. Moreover, Freeman does not assert that he is

prejudiced by the government’s conduct, nor does he allege bad faith on the part of the

government. Although the government’s failure to record its revisions did not violate the

Court’s January 12 Order, even if it did, in the absence of prejudice or bad faith,

exclusion of the government’s transcript is not warranted. Cf. United States v. Maples,

60 F.3d 244, 247 (6th Cir. 1995) (“[S]uppression of evidence must be viewed as an

undesirable remedy reserved for cases of incurable prejudice or bad faith conduct

demanding punishment by the court.”). Here, where as of yet there is no dispute as to

the contents of the tapes because Freeman has identified no purported error(s) in the

government’s transcript, the Court will not endeavor to read the transcript against the

tapes. Furthermore, the Court notes that it is the tapes and not the transcripts, that is

the evidence that will ultimately be presented to the jury.

       Freeman’s motion is DENIED. Freeman may re-file his motion if, upon review of

the government’s transcript and tapes, he determines that the transcript is inaccurate,

brings the objection to the government’s attention and is unable to resolve the objection

at that time. Otherwise, Freeman must stipulate to the transcript.

       IT IS ORDERED.

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Case 2:06-cr-20185-VAR-VMM ECF No. 498, PageID.4082 Filed 09/15/10 Page 3 of 3




                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: September 15, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 September 15, 2010.

 s/Linda Vertriest
 Deputy Clerk




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